Case 3:20-cv-00132-RGJ          Document 184        Filed 06/02/25      Page 1 of 8 PageID #: 4657



                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION                                        Jun 02, 2025


                                                    )
  THE HONORABLE ORDER OF                            )        Civil Action No. 3:20-cv-00132-RGJ
  KENTUCKY COLONELS, INC.                           )
     Plaintiff                                      )
                                                    )           NOTICE OF VOID ORDERS
  vs.                                               )
                                                    )             Filed Pursuant to FRCP 9(b)
  COL. DAVID J. WRIGHT                              )                  and FRCP 60(b)(3)
     Defendant                                      )
                                                    )


                        NOTICE OF VOID ORDERS
TO THE HONORABLE DISTRICT COURT:

COMES NOW Defendant, Col. David J. Wright, a Kentucky Colonel, appearing pro se and in forma

pauperis, and respectfully provides formal notice that the following orders and proceedings in this

case are void ab initio pursuant to Fed. R. Civ. P. 9(b) and 60(b)(3), having been entered without

proper jurisdiction, based upon fraudulent trademarks, baseless retaliatory litigation, and included the

fraudulent concealment of exculpatory facts in Plaintiff’s Verified Complaint [DE-1] and Motion

for Preliminary Injunction [DE-7] in violation of his constitutional protections:


   ● Temporary Restraining Order [DE 14] Judge David J. Hale

   ● Preliminary Injunction [DE 58] Judge Rebecca Grady Jennings

   ● Court Mediator’s Proposal / Agreement – Magistrate Regina S. Edwards

   ● Agreed Permanent Injunction [DE 93] Judge Rebecca Grady Jennings

   ● Settlement Conference [DE 77, 87 and related docket] Magistrate Regina S. Edwards

   ● Memorandum Opinion and Order [DE 129] Judge Rebecca Grady Jennings
Case 3:20-cv-00132-RGJ           Document 184         Filed 06/02/25      Page 2 of 8 PageID #: 4658



I. Grounds for Declaring Orders Void Ab Initio

1. Fraud on the Court and Trademark Misrepresentation

The Plaintiff initiated this action on the basis of three trademark applications filed just three days

earlier, but presented them in its Verified Complaint [DE-1] and Motion for Preliminary Injunction

[DE-7] as if they were already registered, incontestable, and famous. These representations were

materially false and made ambiguous before the court. With those trademarks, the Plaintiff

manufactured the basis for the lawsuit and prevented the Defendant from operating his association.

At the time of filing, the trademarks were neither registered nor enforceable under the Lanham Act,

whereas other similar marks were for products. The Plaintiff further omitted key facts, including

Defendant’s 23-year history as a contributing member of the Plaintiff’s organization, prior

communications between the parties, and public use of the “Kentucky Colonel” identity for decades

as the creator of the first “Kentucky Colonels” website in 1998.


These omissions and falsehoods constitute fraud on the court—a structural violation that taints the

judicial process. Under Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238 (1944) and

Precision Instrument Mfg. Co. v. Automotive Maintenance Mach. Co., 324 U.S. 806 (1945), any

order premised on material fraud is void and subject to vacatur at any stage of the proceedings.


Summary of Fraud on the Court, Trademark Fraud, Misrepresentation

   ● Plaintiff filed this lawsuit three days after applying for three trademarks it falsely asserted as
       registered “incontestable and famous” in its Complaint and TRO/PI motions.

   ● These claims were fraudulent and concealed material facts, including prior contact,
       negotiations, trademark limitations, and the Defendant’s membership in the Plaintiff
       organization. The trademark applications were fraudulent; the HOKC claim to a 1931
       document as [DE-1 Exhibit 1] is fraudulent without legal succession.
Case 3:20-cv-00132-RGJ           Document 184        Filed 06/02/25     Page 3 of 8 PageID #: 4659



   ● Such deceit constitutes fraud on the court, voiding any order premised on it. Hazel-Atlas
       Glass Co. v. Hartford-Empire Co., 322 U.S. 238 (1944); Precision Instrument Mfg. Co. v.
       Automotive Maintenance Mach. Co., 324 U.S. 806 (1945).


2. Unconstitutional Prior Restraint on Speech

The Temporary Restraining Order, Preliminary Injunction, and Agreed Permanent Injunction each

imposed a prior restraint on the Defendant’s ability to use the phrase “Kentucky Colonels” and

related expressive identifiers. These orders prohibit non-commercial, civic, and historical references

that fall well within the scope of constitutionally protected speech.


Such restraints are invalid under Matal v. Tam, 582 U.S. 218 (2017), which held that trademarks

may not be used to suppress expressive speech, and under Nebraska Press Ass’n v. Stuart, 427 U.S.

539 (1976), which forbids the use of court orders to impose prior restraints without strict

constitutional scrutiny.


Summary of Unconstitutional Prior Restraint on Civil Rights

   ● The TRO, Preliminary Injunction, and Agreed Permanent Injunction operate as
       unconstitutional prior restraints on protected speech.

   ● These restraints bar expressive use of "Kentucky Colonel" and even the unofficial unregulated
       TM symbol in non-commercial speech.

   ● Matal v. Tam, 582 U.S. 218 (2017); Nebraska Press Ass’n v. Stuart, 427 U.S. 539 (1976).


3. Lack of Subject Matter Jurisdiction

The Court lacked jurisdiction under the Lanham Act to issue injunctive relief over a public domain

term. The Plaintiff’s asserted trademark rights were not registered at the time of the TRO or

Preliminary Injunction. The Defendant has not claimed or filed any trademarks and was engaged in

civic or descriptive use. Courts may not expand the scope of statutory rights to confer exclusive
Case 3:20-cv-00132-RGJ          Document 184         Filed 06/02/25          Page 4 of 8 PageID #: 4660



ownership over a public title such as “Kentucky Colonel,” which has historic roots recognized as

early as 1775, acknowledged by the Commonwealth of Kentucky 1875, and Congress in 1936.


This District has already held in Building Champions, Inc. v. The Honorable Order of Kentucky

Colonels, 345 F. Supp. 2d 716 (W.D. Ky. 2004) that the term “Kentucky Colonels” lacks secondary

meaning sufficient for trademark enforcement and is widely used in a descriptive or honorary

capacity.


Summary on Lack of Subject Matter Jurisdiction, Not Yet a Trademark

   ● The Court lacked Lanham Act jurisdiction because the Plaintiff’s trademark rights were:

            ○ Not a registered trademark at the time of TRO/PI hearing,

            ○ Based on fraudulent applications,

            ○ Defendant made no trademark applications or claims,

            ○ Extended beyond what the law permits (e.g., claiming ownership dominance of an
               ideal based on a historical identity defined by the state).

   ● A federal court cannot expand statutory rights through equitable orders beyond its
       subject-matter jurisdiction, rendering such orders void. United States v. Cotton, 535 U.S.
       625 (2002).


4. Structural Due Process and Judicial Impartiality Concerns

Key orders in this case were entered while motions for recusal alleging potential judicial bias were

pending. In particular, the Court failed to rule on the recusal motion before issuing substantive

rulings, including the Memorandum Opinion and Order [DE-129], which re-enforced the same

unconstitutional restraints previously issued in the superseded Preliminary Injunction [DE-58].


This failure violates procedural due process and undermines the legitimacy of the orders issued. As

held in Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009) and In re Murchison, 349 U.S.
Case 3:20-cv-00132-RGJ            Document 184         Filed 06/02/25      Page 5 of 8 PageID #: 4661



133 (1955), the appearance or risk of judicial bias during critical phases of litigation is itself

sufficient to invalidate proceedings under constitutional principles.


Summary of Due Process Concerns

   ● The Court repeatedly deferred to Plaintiff's requests, proposed orders, ignored dispositive
       motions, and failed to stay proceedings despite a pending recusal motion.

   ● Failure to rule on a recusal motion before issuing key orders is per se reversible error and
       strips the proceedings of due process. Caperton v. A.T. Massey Coal Co., 556 U.S. 868
       (2009); In re Murchison, 349 U.S. 133 (1955).


II. Specific Orders Declared Void

The following docket entries are identified as void ab initio based on the material misrepresentations,

constitutional violations, and jurisdictional defects outlined above:


   ● [DE 14] Temporary Restraining Order
       Entered ex-parte on representations that Plaintiff owned “incontestable” and “famous”
       trademarks, when no registrations existed at the time. Issued without proper factual basis or
       analysis of fair use or expressive protections.

   ● [DE 58] Preliminary Injunction
        Relied on materially false premises from Plaintiff’s motion and complaint. Imposed sweeping
       prohibitions on speech, domain names, and identity markers without analysis of statutory
       limitations under 15 U.S.C. §§ 1115(b)(4) or 1125(c)(3). The order exceeded Lanham Act
       authority and functioned as a prior restraint on protected speech.

   ● [DE 77] Settlement Conference and Related Proceedings
       Proceeded during an active premature case management and discovery, and under the false
       premise that Plaintiff’s injunction posture was valid and binding. Plaintiff’s mediated proposal
       and actions were not consistent with federal jurisdiction or due process principles.

   ● [DE 93] Agreed Permanent Injunction
       Incorporated language from the flawed Preliminary Injunction, lacked independent findings,
Case 3:20-cv-00132-RGJ            Document 184         Filed 06/02/25      Page 6 of 8 PageID #: 4662



       and was premised on the same unconstitutional and jurisdictionally defective framework.
       Defendant’s prior stipulations were withdrawn in later filings, and the agreement was later
       contested in new proceedings [DE-97, DE-99].

   ● [DE 129] Memorandum Opinion and Order
       Reasserted language from [DE 58], despite intervening notice of appeal and constitutional
       challenges. Reopened the case without addressing pending recusal and due process concerns.
       Relied on enforcement of an injunction that was void for lack of subject matter jurisdiction
       and constitutional authority. Mistook the Preliminary Injunction for the Agreed Permanent
       Injunction notwithstanding the Court Mediator’s Agreement.

Each of these orders is inseparably linked to the original fraud on the court and unsupported

trademark claims. Because the underlying foundation was defective from the outset, the resulting

orders lack legal effect and must be recognized as void as a matter of law.


III. Legal Position and Judicial Duty to Acknowledge Voidness

Federal courts possess inherent authority and a continuing obligation to recognize when an order is

void ab initio. Under Rule 60(b)(4) of the Federal Rules of Civil Procedure, a judgment is void if the

rendering court lacked subject matter jurisdiction, acted in a manner inconsistent with due process, or

issued rulings based on fraud that undermined the integrity of the proceedings.


As the Supreme Court held in Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238, 246

(1944): “Tampering with the administration of justice in the manner indisputably shown here

involves far more than an injury to a single litigant. It is a wrong against the institutions set up to

protect and safeguard the public.”


Likewise, a federal court may not exercise authority in excess of its statutory jurisdiction under the

Lanham Act, nor may it issue injunctions that violate First Amendment principles. As reaffirmed in

United States v. Cotton, 535 U.S. 625, 630 (2002), “[s]ubject-matter jurisdiction can never be

forfeited or waived,” and when it is lacking, the court’s orders are “nullities.”
Case 3:20-cv-00132-RGJ             Document 184       Filed 06/02/25     Page 7 of 8 PageID #: 4663



Defendant respectfully informs this Court that this matter is currently pending before the United

States Court of Appeals for the Sixth Circuit, Case Nos. 23-5795 and 23-6108, where the validity

of the underlying injunctions and related orders is under appellate review. No affirmative relief is

sought through this filing. However, the legal status of the above-cited orders—as void ab

initio—requires acknowledgment in the interest of constitutional compliance and judicial integrity.


Reservation of Rights

Nothing in this Notice to the Court shall be construed as a waiver of any rights, defenses, objections,

or remedies available to the Defendant at law or in equity. Defendant expressly reserves all rights

before this Court and any reviewing court, including the right to seek further judicial relief or

appellate review as appropriate.


Declaration Under Penalty of Perjury

Pursuant to 28 U.S.C. § 1746, I, Col. David J. Wright, declare under penalty of perjury under the laws

of the United States that the foregoing is true and correct to the best of my knowledge, and that this

Notice is submitted in good faith to advise the Court of adjudicative facts and legal status relevant to

the integrity of the record and administration of justice.


Respectfully submitted,

Col. David J. Wright
302 General Smith Drive
Richmond, Kentucky 40475

david.wright@globcal.net                               Dated: June 02, 2025
Tel: (859) 379-8277                                    Puerto Carreño, Colombia
Case 3:20-cv-00132-RGJ        Document 184       Filed 06/02/25    Page 8 of 8 PageID #: 4664




                                   Certificate of Service

I, David J. Wright, hereby certify that on June 02, 2025, I submitted this Notice of Void Orders
through the Court’s Electronic Document Submission System (EDSS) for transmission to the Clerk
of Court for the United States District Court for the Western District of Kentucky, in accordance
with General Order No. 25-02.

Upon acceptance by the Clerk, the filing will be entered into the Court’s CM/ECF system, which
will provide electronic notice to all registered CM/ECF participants associated with this case.
Service will be deemed complete upon docketing and assignment of a document number by the
Clerk.

Dated: June 02, 2025


Clerk's Office
601 W. Broadway, Rm 106
Gene Snyder United States Courthouse
Louisville, KY 40202
